           Case 2:22-cv-05209-GJP Document 72 Filed 01/22/24 Page 1 of 2




                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 UNITED STATES OF AMERICA,

                        Plaintiff,
                                                            CIVIL ACTION
       v.                                                   NO. 22-5209

 AMERISOURCEBERGEN
 CORPORATION, et al.,

                        Defendants.


                                 SCHEDULING ORDER

      AND NOW, this 22nd day of January 2024, following a conference with counsel

for the parties (ECF No. 71), it is ORDERED that:

      1.       The case is referred to Magistrate Judge Elizabeth Hey for settlement.

      2.       Requests for production, other than those seeking discovery on subjects

that become known for the first time after this deadline, shall be served on or before

Friday, November 1, 2024.

      3.       Documents, other than those subject to motions to compel or

supplementations required by Rule 26(e), shall be produced on or before Friday, July

25, 2025.

      4.       Any disputes regarding requests for production shall be raised with the

Court on or before Friday, September 26, 2025.

      5.       Fact discovery shall be completed on or before Friday, January 9, 2026.

      6.       All expert discovery, including depositions, shall be completed on or before

Friday, September 18, 2026.




                                             1
           Case 2:22-cv-05209-GJP Document 72 Filed 01/22/24 Page 2 of 2




      7.       The Court will conduct a scheduling conference to determine remaining

tasks and deadlines after expert discovery concludes.



                                               BY THE COURT:



                                               /s/ Gerald J. Pappert
                                               GERALD J. PAPPERT, J.




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